                                  HIGHLY CONFIDENTIAL


                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Kove IO, Inc.,                                Civil Action No. 1:18-cv-08175

                     Plaintiff,
                                              Hon. Matthew F. Kennelly
       v.

Amazon Web Services, Inc.,                    Jury Trial Demanded

                     Defendant.




 KOVE IO, INC.’S MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE
        AND MOTION TO EXCLUDE CERTAIN EXPERT OPINIONS
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       Plaintiff Kove IO, Inc. (“Kove”) respectfully submits this Motion for Sanctions for

Spoliation of Evidence and to Exclude Certain Expert Opinions advanced by Defendant Amazon

Web Services, Inc. (“AWS”).

       AWS’s expert reports are replete with inadmissible opinions. The extraordinary scope and

scale of them create a dynamic that the more inadmissible evidence included in the reports, the

more likely at least some of it will make it to the jury because the sheer volume makes addressing

each piece of evidence burdensome, even if plainly out of bounds. The issues range widely, from

AWS destroying critical evidence then attacking Kove for its absence, to failing to disclose non-

infringing alternatives in discovery then attacking Kove’s experts for not addressing them, offering

new claim construction opinions, advancing arguments already rejected by the Court’s summary

judgment order, injecting new theories absent from AWS’s non-infringement contentions, failing

to provide the technical and comparability analyses required to admit prior license agreements,

advancing a “practicing the prior art defense” long forbidden by the Federal Circuit, and more.

       Kove conferred with AWS prior to filing this motion in hopes of streamlining the issues so

as to not burden the Court—but to little avail. Accordingly, Kove is forced to address a substantial

volume of inadmissible evidence in this motion for the simple reason that AWS’s expert reports

are chock full of evidence that cannot be presented to the jury.

   I. MOTION FOR SANCTIONS FOR SPOLIATION OF EVIDENCE

       AWS irreversibly destroyed years’ worth of key performance data showing the extent of

AWS’s infringement and the technical benefits of Kove’s patents. AWS had a duty to preserve

that information. Its failure to take reasonable steps to preserve resulted in years-long gaps in the

data. AWS now seeks to benefit from its spoliation by attacking Kove’s experts for not having

this very information and for having to extrapolate to fill in the gaps.


                                                      1
designing the accused components. Ex. C (letter) at 3; Ex. D (letter) at 7. Kove identified specific

performance metrics in its July 28, 2020 30(b)(6) topics (Ex. E at 10), and then sought specific

metrics concerning durability, availability, scalability, latency, and throughput (Ex. N at ROG 22;

Ex. O at RFP 131).

         Kove moved to compel many of the spoliated metrics on September 9, 2021. Dkt. 409 at

10-11. On December 30, 2022, the Court ordered AWS to produce “[a]n identification [of] what

AWS considers the most useful metrics or metrics reports to measure speed, availability,

durability, and scalability of the Accused Products.” Dkt. 562 ¶ 3. AWS continued to spoliate the

very data they identified as most useful and that they were required to produce.

            2. AWS Did Not Take Reasonable Steps To Retain Key Metrics.

         AWS tracks performance metrics for its products for a limited time, after which they are

automatically deleted. Unless automatic deletion is disabled, no metric is maintained beyond

        (the “Auto-Delete Policy”). 4 AWS did not suspend its Auto-Delete Policy or otherwise

preserve its metrics beyond the            limit. 5 AWS’s spoliation permanently destroyed years

of data. Had AWS preserved the metrics when Kove filed its complaint, Kove would have had

data from        (          before the 2018 Complaint was filed). 6 Instead, many of the metrics

date back to                      . See Ex. U (detailing spoliation); Goodrich Decl. ¶ 16 (Kove’s



4
  Ex. P (4/21/2023 Donal Walsh Dep. Tr. (“4/21/2023 Walsh Tr.”)) at 131:1-133:10; Ex. Q
(6/14/2023 Donal Walsh Dep. Tr. (“6/14/2023 Walsh Tr.”)) at 324:20-325:15.
5
  Ex. P (4/21/2023 Walsh Tr.) at 131:11-133:5
                                             ; Ex. R (Shiv Pal Singh Dep. Tr. (“Singh Tr.”)) at
144:15-19, 197:5-198:3 (same, but for S3); Ex. S (AWS counsel acknowledging AWS did not take
steps to retain specific metrics); Ex. T (summarizing meet and confer where AWS counsel
acknowledged AWS did not modify Auto-Delete Policy).
6
    Kove seeks damages for December 2012 to September 2020.


                                                     3
technical expert).

             3. AWS Hindered Kove’s Ability to Discover the Spoliation.

         AWS withheld information regarding its Auto-Delete Policy while assuring Kove that it

was preserving relevant data. Kove gained limited awareness of the Auto-Delete Policy in August

2021 during a 30(b)(6) deposition. The witness did not know whether the deleted metrics were

backed up and was instructed not to answer questions relating to litigation hold notices. Ex. V at

49:16-20, 217:6-221:12. The deposition was limited to just DynamoDB (one of the accused

products), and so did not bear on S3 (the other accused product). Kove asked the Court to authorize

alternate forms of discovery to potentially capture some of the deleted data and referenced

spoliation concerns in a January 2022 filing. Dkt. 437 at 12-13; Dkt. 502 at 9-10. AWS still failed

even then to take steps to preserve the metrics at issue. 7

         When the Court stayed the case in March 2022, Kove sent AWS a letter detailing Kove’s

spoliation concerns and reminding AWS of its “continued obligation to preserve documents

relevant to this litigation,” including “metrics relating to the accused products that would otherwise

be deleted after            .” Ex. W at 1-2. AWS assured Kove that it “[had] met its obligations

under the applicable rules to preserve information relevant to the litigation, and will continue to

do so.” Ex. X at 1. Unbeknownst to Kove, AWS still had not modified its Auto-Delete Policy or

otherwise taken steps to retain the relevant metrics. After the stay was lifted, in December 2022,

the Court ordered AWS to search for and produce several categories of metrics. Dkt. 562 at 2-3.

AWS failed to notify the Court that it had deleted (and continued deleting) data subject to the




7
    See Dkt. 449; Dkt. 507; Ex. P (4/21/2023 Walsh Tr.) at 132:21-133:10.


                                                       4
order. 8 See Ex. U (Metrics Appendix) at Rows 1-4, 6-9 (metrics covered by the Court’s order).

         Kove first learned the extent of AWS’s spoliation in June 2023. Testimony confirmed that

AWS’s Auto-Delete Policy also applied to S3, and that the deleted data had not been backed up

and could not be discovered through other sources, e.g., through testimony or duplicate files. E.g.,

Ex. R at 112:11-114:8 (S3); Ex. Y at 2 (AWS’s “search for additional metrics information” was

complete in June 2023). Only after the fact discovery deadline did Kove learn AWS had not even

considered what it would take to preserve relevant metrics or the associated costs. 9 Ex. Q at

436:21-438:5.

         When confronted, AWS denied that it was ever obligated to preserve metrics—including

data the Court ordered AWS to produce—and took the position that a spoliation motion was not

ripe until expert reports were exchanged, the idea being to see whether Kove was prejudiced by

AWS’s expert reports. Ex. Z; Ex. AA; see Ex. BB. Kove accepted AWS’s invitation to wait.

              4. AWS’s Expert Attacks Kove For The Absence of The Data It Spoliated.

         Kove’s prejudice was confirmed when AWS served rebuttal reports on August 18, 2023.

AWS’s technical expert criticized Kove’s expert for having insufficient data during the spoliated

period. Ex. CC ¶¶ 437-445 (“Goodrich provides no support for his conclusion regarding the

average BM lookup time for the time period from July 2012 through April 2016.”). AWS’s expert

also asserted, without support, “that Amazon did not delete metrics.” Id. at ¶ 469. Kove moved

for relief three weeks later. Dkt. 679.

         B.      Argument


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 This is similar to what happened with another key document – the Six Pager. Only after extensive
briefing and a Court order to produce it, AWS stated that it could not be found. Dkt. 643.
9
    AWS did not make the witness available until roughly six weeks after discovery. See Ex. DD.


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       A party may be sanctioned if “electronically stored information [“ESI”] that should have

been preserved in the anticipation or conduct of litigation is lost because a party failed to take

reasonable steps to preserve it, and it cannot be restored or replaced through additional discovery.”

Fed. R. Civ. P. 37(e). A court may order corrective measures under subdivision (e)(1) “upon

finding prejudice . . . from loss of the information,” and “may order measures no greater than

necessary to cure the prejudice.” Bad faith is not necessary under Rule 37(e)(1). See DR Distrib.,

LLC v. 21 Century Smoking, Inc., 513 F. Supp. 3d 839, 957-58 (N.D. Ill. 2021).

       The scale of AWS’s spoliation is extraordinary. To aid the Court, Kove identifies the small

subset of metrics whose deletion has most clearly prejudiced Kove in Exhibit U.

           1. AWS Spoliated Relevant Metrics After It Knew They May Be Discoverable.

       AWS “has a duty to preserve evidence that it has control over and which it reasonably

knows or can foresee would be material (and thus relevant) to a potential legal action.” Jones v.

Bremen High Sch. Dist. 228, 2010 WL 2106640, at *5 (N.D. Ill. May 25, 2010). Documents “must

be preserved for discovery, if there is a possibility that the information therein is relevant.” Id.

       This data unambiguously meets this standard. AWS was on notice that performance

metrics were relevant, since Kove’s complaint alleges AWS infringed Kove’s “high-performance”

distributed storage technology and, separately, because of Kove’s increasingly specific requests

for those metrics. AWS knew that such evidence is crucial for patent damages. See Georgia-Pac.

Corp. v. U.S. Plywood Corp., 318 F. Supp. 1116, 1120 (S.D.N.Y. 1970) (factor 11 is “[t]he extent

to which the infringer has made use of the invention; and any evidence probative of the value of

that use”). This is particularly the case because AWS knows its own metrics and has engineers

who can identify relevant metrics. See Hollis v. CEVA Logistics U.S., Inc., 603 F. Supp. 3d 611,

620 (N.D. Ill. 2022) (relevance is “not a high standard” and “the party with access to the proofs


                                                      6
generally bears the burden”).

       Exhibit U summarizes key evidence, including why AWS knew or should have known to

preserve each metric. For most metrics, the explanation is the same: they were either specifically

requested by Kove, or AWS considered them most useful or significant by AWS to evaluate

product performance, or both.




                                                 . 10 Yet AWS did not preserve this data, allowing

them to be auto deleted , leaving Kove with only data back                                           .

       AWS contends it was not obligated “to retain all available metrics . . . when Kove filed

suit in December 2018.” Ex. EE (emphasis added). But Kove is not arguing that all metrics need

to be retained, only the relevant ones. This is similar to an argument Amazon made in another

case, Oliver v. Amazon.com, 2023 WL 3322382 (E.D. Wis. May 8, 2023). There, Amazon did not

preserve warehouse security footage for the specific days an injured employee worked, and

Amazon argued it could not possibly be expected to retain all footage for its entire warehouse. Id.

at *4. The court rejected that argument as an exaggeration and held that Amazon breached its

preservation duty by failing to preserve potentially relevant evidence from a large pool of irrelevant

ESI. Id.; see also Konica Minolta Bus. Sols., USA Inc. v. Lowery Corp., 2016 WL 4537847, at *4

(E.D. Mich. Aug. 31, 2016) (“Whether the Defendants believed that they were asked

to preserve too much and accordingly decided that they did not need to preserve ESI is a different,

but still unpersuasive argument.”). ESI is spoliated when it cannot be restored or replaced. Hollis,


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  Ex. V (8/25/2021 Walsh Tr.) at 86:3-16; Ex. Q (6/14/2023 Walsh Tr.) at 387:1-390:14; see Ex.
U (Metrics Appendix) at Row 9.


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603 F. Supp. 3d at 622. This element was definitively established in June 2023, when an AWS

deponent confirmed the deleted data cannot be recovered and was not backed up, and AWS

confirmed that it was unable to locate or recover the spoliated data. See, e.g., Ex. Q at 439:15-19;

Ex. Y at 2 (AWS’s “search for additional metrics . . . is complete”).

       Despite notice of the performance metrics’ relevance and significance, AWS did not

deactivate or suspend its Auto-Delete Policy or take any other reasonable preservation steps. See,

e.g., DR Distrib., 513 F. Supp. 3d at 979 (defendant acted unreasonably by failing to stop

autodeletion, or to informally copy and save the ESI); Hollis, 603 F. Supp. 3d at 621 & n.13

(defendant acted unreasonably by failing to stop autodeletion, even after notice of relevance);

Oliver, 2023 WL 3322382 at *4 (Amazon acted unreasonably by failing to stop autodeletion).

       Corporate autodeletion policies do not override discovery preservation duties. See id. The

Northern District of California recently sanctioned Google for failing to turn off its autodeletion,

despite, as here, assuring compliance with its preservation obligations after plaintiff questioned

whether the information was being preserved. In re Google Play Store Antitrust Litig., No. 3:21-

md-2981-JD, Dkt. 469 (N.D. Cal. March 28, 2023). The court criticized Google for “ha[ving]

every opportunity to . . . air concerns about potential burden, costs, and related factors” yet

“cho[osing] to stay silent until compelled to speak by the filing of the Rule 37 motion,” which

required “a substantial amount of resources to get to the truth of the matter.” Id. at 16-17. This

“troubling” conduct “fell strikingly short.”    Id. at 16.   Google’s conduct was “worrisome,

especially in light of its unlimited access to accomplished legal counsel, and its long experience

with the duty of evidence preservation.” Id. at 17. Google “had the capacity of preserving all Chat

communications systemwide once litigation had commenced but elected not [to] do so, without

any assessment of financial costs.” Id.


                                                     8
          The burden of preserving the metrics at issue is minimal. Only a tiny fraction of AWS’s

metrics are potentially relevant. AWS identified roughly two dozen metrics as most useful to

product performance, and testimony confirmed that just a few dozen metrics are tracked for key

infringing components. 11 For perspective, all metrics AWS produced amount to fewer than

             of storage. This is less storage than needed to store a photo taken on an iPhone 14

Pro. 12 AWS’s own pricing shows it costs less than a penny per month to store the spoliated

metrics. 13 But AWS never investigated the cost of reasonable retention. Ex. Q at 436:21-438:8

(AWS “ha[s]n’t provided a cost estimate . . . to preserve only a limited subset of metrics that might

be relevant to this case” and “didn’t know whether [database] would be able to retain only a small

subset” because it never checked). If AWS believed preservation was too much, it should have

notified the Court and counsel years ago. In re Google Play Store Antitrust Litig., No. 3:21-md-

2981-JD, Dkt. 469 (“At the very least, Google should have advised plaintiffs about its preservation

approach early in the litigation, and engaged in a discussion with them.”); DR Distribs., 513 F.

Supp. 3d at 906 (“[C]ounsel must immediately inform the court and opposing counsel when they

learn that ESI has been destroyed.”).

             2. AWS’s Spoliation Prejudices Kove.

          Curative measures under Rule 37(e)(1) are appropriate because AWS’s spoliation

prejudiced Kove. Parties are prejudiced when their access to relevant information impairs their

ability to prepare for trial. DR Distribs., 513 F. Supp. 3d at 973. Intent does not matter under this

subdivision. See Hollis, 603 F. Supp. 3d at 622 (“only prejudice needs to exist”).


11
     Exs. FF (1/10/2023 Singh Decl.); M (1/10/2023 Walsh Decl.); R (Singh Tr.) at 108:17-109:16.
12
     https://www.wired.com/story/how-to-keep-photos-videos-taking-up-space/.
13
     https://aws.amazon.com/s3/pricing (AWS charges 2.3 cents/month to store a gigabyte of data).


                                                     9
       AWS’s spoliation deprived Kove of years’ of data relating to the amount, extent, and

significance of AWS’s infringement. Had this data been preserved, Kove’s expert would have

considered it. Goodrich Decl. ¶ 17; Ex. U (Appendix). Its absence required Kove’s expert to

extrapolate the produced data back in time and to assume that there were no significant changes to

the data. Id. ¶¶ 18-19.

       This harm is compounded by AWS’s expert attacking Kove’s expert for not having the

missing data, criticizing him for providing “no support for his conclusion[s]” on spoliated speed

metrics, and challenging the reliability of his projections, while expressly denying spoliation. Ex.

CC ¶¶ 445 (criticizing use of projected value of                                        ); 441 n.556

(claiming Kove should have used a projected value of                                   ); 445 n.564

(challenging projections because values in the spoliation period would have been “variable”); ¶

469 (“Amazon did not delete metrics”); ¶ 445 n.563 (suggesting Kove did not need to project data).

           3. Kove Requests Relief Tailored To Mitigate Its Prejudice.

       AWS cannot destroy evidence it had a duty to preserve and then benefit from its absence.

Kove respectfully asks the Court to: (1) instruct the jury on AWS’s failure to preserve this

information despite a duty to do so; (2) strike the portions in AWS’s rebuttal report challenging

Kove’s projections, and preclude AWS from arguing the same to the jury; and (3) award Kove’s

costs and fees. This relief is narrowly tailored to address AWS’s troubling breach of discovery

obligations, and to preclude AWS from exploiting the evidentiary gap it created.

       This relief is well-supported. See, e.g., Fed. R. Civ. P. 37 advisory committee’s note to

2015 amendment (Rule 37(e)(1) curative measures may include “forbidding the party that failed

to preserve information from putting on certain evidence, permitting the parties to present evidence

and argument to the jury regarding the loss of information, [] giving the jury instructions to assist


                                                     10
in its evaluation of such evidence or argument,” or “exclud[ing] a specific item of evidence to

offset prejudice”); Hollis, 603 F. Supp. 3d at 625 (ordering instruction and calling it “[a] common

curative measure”); DR Distribs., 513 F. Supp. at 982 (ordering instruction and preventing

spoliator from disputing contents of spoliated ESI); Torgersen v. Siemens Bldg. Tech., Inc., 2021

WL 2072151, at *5 (N.D. Ill. May 24, 2021) (ordering instruction and preventing spoliator from

offering innocent explanation for spoliation); Estrada v. Pao Pao, Inc., 2021 WL 8202677, at *4

(N.D. Ill. Oct. 25, 2021) (“[T]he court may order curative measures under Rule 37(e)(1) such as

barring evidence or instructing the jury that it can consider the circumstances surrounding the loss

of ESI.”); Franklin v. Howard Brown Health Ctr., 2018 WL 4784668, at *6 (N.D. Ill. Oct. 4, 2018)

(recommending jury hear evidence and argument on spoliation); Ayers v. Heritage-Crystal Clean,

LLC, 2022 WL 2355909, at *4 (N.D. Ill. June 1, 2022) (“[A] jury instruction informing the jury of

Ayer’s behavior is warranted.”); Covarrubias v. Wendy’s Rest., 2021 WL 4258701, at *4 (N.D.

Ill. June 21, 2021); Pable v. Chicago Transit Authority, 2023 WL 2333414, at *37 (N.D. Ill. Mar.

2, 2023) (awarding attorney’s fees to cure “financial prejudice” from bringing spoliation motion).

    II. MOTION TO EXCLUDE CERTAIN EXPERT OPINIONS

        Under Rule 26(a)(2)(B) of the Federal Rules of Civil Procedure, expert reports must

contain “a complete statement of all opinions the witness will express and the basis and reasons

for them.” Fed. R. Civ. P. 26(a)(2)(B). And Federal Rule of Evidence 702 requires that expert

opinion testimony be “based on sufficient facts or data” and “the product of reliable principles and

methods,” “reliably applied.” Inadequately disclosed opinions are automatically excluded. Fed.

R. Civ. P. 37(c)(1) (“If a party fails to provide information . . . as required by Rule 26(a) . . . , the

party is not allowed to use that information . . . to supply evidence on a motion, at a hearing, or at

a trial, unless the failure was substantially justified or is harmless.”); see Fed. R. Civ. P. 37(c)


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advisory committee’s note to 1993 amendment (sanction is “automatic” and “self-executing”);

Salgado by Salgado v. Gen. Motors Corp., 150 F.3d 735, 742 (7th Cir. 1998) (“[T[he sanction of

exclusion is automatic and mandatory unless the sanctioned party can show that its violation of

Rule 26(a) was either justified or harmless.”).

       A.      Inadmissible Damages Opinions

            1. The Court Should Exclude Bennis’s and Grama’s Opinions Relating to Non-
               Comparable Third-Party Transactions.

       AWS relies on previous patent licenses to support its damages theory. Previous patent

licenses are only admissible if they are economically and technically comparable to the

hypothetical negotiation between Kove and AWS. AWS’s experts fail to show economic or

technically comparability, and the resulting opinions are therefore inadmissible.

       The party proffering a prior patent license for purposes of damages bears the burden of

establishing it is sufficiently comparable to the hypothetical license. See Lucent Techs., Inc. v.

Gateway, Inc., 580 F.3d 1301, 1329 (Fed. Cir. 2009). To satisfy this burden, AWS must show that

the license “involves comparable technology, is economically comparable, and arises under

comparable circumstances as the hypothetical negotiation.” Bio-Rad Lab’ys, Inc. v. 10X Genomics

Inc., 967 F.3d 1353, 1372–73 (Fed. Cir. 2020); see also Wordtech Sys., Inc. v. Integrated Networks

Sols., Inc., 609 F.3d 1308, 1320 (Fed. Cir. 2010) (“[C]omparisons of past patent licenses to the

infringement must account for ‘the technological and economic differences’ between them.”).

       Because licenses are complex and have a high capacity to confuse the jury, the Federal

Circuit “has long required district courts . . . to exercise vigilance when considering past licenses

to technologies other than the patent in suit.” ResQNet.com, Inc. v. Lansa, Inc., 594 F.3d 860, 869

(Fed. Cir. 2010). Non-comparable licenses must be excluded. Intelligent Verification Sys., LLC




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v. Microsoft Corp., 2015 WL 1518099, at *2 (E.D. Va. Mar. 31, 2015) (“[T]he district court must

exercise its gatekeeping function to bar non-comparable licenses when the license does not meet

the baseline of comparability test.”).

       There are additional showings necessary for licenses that arose in connection with

litigation. Such licenses may only be considered “under certain limited circumstances” because

“license fees that are tainted by the coercive environment of patent litigation are unsuitable to

prove a reasonable royalty.” LaserDynamics, Inc. v. Quanta Comput., Inc., 694 F.3d 51, 77 (Fed.

Cir. 2012). Experts must consider the facts underlying the litigation, including factors like “the

cost of the predicted judgment, its profitability, and costs of further litigation.” See Prism Techs.

LLC v. Sprint Spectrum L.P., 849 F.3d 1360, 1369 (Fed. Cir. 2017) (citations omitted). “Without

analysis of the litigation,” an expert’s conclusion “cannot be based on ‘sound economic and factual

predicates,’” and so cannot be admitted. AVM Techs., LLC v. Intel Corp., 927 F. Supp. 2d 139,

143 (D. Del. 2013) (citing Riles v. Shell Expl. & Prod. Co., 298 F.3d 1302, 1311 (Fed. Cir. 2002)).

              2. Bennis’s Opinions On AWS’s Past Licenses Should Be Excluded.

       AWS’s damages expert, Bennis, relies on ten third-party transactions to support her

damages estimate. See Ex. NN at 129. Bennis does not address—or even acknowledge—the

concept of economic comparability. See id. at 110, 114, 116, 119, 121, 124, 127, 129. At her

deposition, Bennis confirmed that she did not consider the economic comparability of transactions

when forming her opinions, and, in fact, expressly disclaimed an opinion on comparability. See

Ex. OO at 148:15-17 (“I just don’t want to suggest it’s a comparable/identical license.”)

(discussing                   ). 14 Indeed, her analysis ended at (alleged) technical comparability,

14
  The testimony cited above is consistent with testimony provided throughout the deposition. See,
e.g., Ex. OO at 90:21-91:13,144:14-146:17, 149:17-150:18, 203:4-20, 209:17-211:18, 244:18-



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ignoring the required economic comparability. See Ex. OO at 104:14-20 (“[I]f I understand the

patents to be technically comparable, then the rates paid or exchanged . . . are relevant.”). 15

       Courts frequently exclude expert testimony for exactly this reason. E.g. Sprint Commc’ns

Co. v. Comcast IP Holdings, LLC, 2015 WL 456154, *3 (D. Del. Jan. 30, 2015) (excluding

testimony where expert failed to account for differences in prior licenses because simply

acknowledging economic differences is not sufficient); Intelligent Verification, 2015 WL

1518099, at *3-5 (excluding testimony about license that failed to meet baseline comparability

test); Biedermann Techs. GmbH & Co. KG v. K2M, Inc., 2021 WL 6034269, at *9-10 (E.D. Va.

Dec. 10, 2021), objections overruled in relevant part, 2022 WL 21502725 (E.D. Va. July 15, 2022)

(excluding testimony for failure to analyze differences in economic circumstances between

licenses); Biscotti Inc. v. Microsoft Corp., 2017 WL 2607882, at *4 (E.D. Tex. May 25, 2017)

(excluding testimony in light of “substantial economic differences”). All third-party licenses

should be excluded for Bennis’s failure to consider economic comparability, especially in view

Bennis’s testimony that there are “potentially vast” and “meaningful” differences between the

licenses and the hypothetical negotiation. Ex. OO at 154:1-155:2, 243:19-244:4.

       In addition, Bennis failed to account for the fact that the prior licenses were entered in the

context of litigation (in contrast to the hypothetical negotiation). See, e.g., Ex. NN at 78-79, 82-

83, 86; Ex. PP ¶¶ 444-541. The black-letter law set forth above is that an expert seeking to use

licenses arising from litigation must consider and account for the facts surrounding the litigation.

Because each of these transactions arose in connection with litigation, Bennis was required to



245:6, 246:15-247:1.
15
  Bennis repeated this belief throughout the deposition. Id. at 96:12-21, 234:3-11; see also id. at
101:9-11; 102:12-17; 150:13-14; 182:1-16, 186:4-12.


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consider and account for litigation-based factors. See Prism Techs., 849 F.3d at 1369. Bennis did

not. At her deposition, Bennis confirmed that she did not consider—and was not even aware of—

the relevant litigation factors. Ex. OO (Bennis Tr.) at 164:10-13; 165:21-167:14, 220:16-221:4;

221:5-20, 242:17-243:3; 219:1-16; 178:13-21; 194:4-17; 196:12-197:4, 215:19-216:4.

        Failure to account for litigation factors requires exclusion. See, e.g., Zimmer Surgical, Inc.

v. Stryker Corp., 365 F. Supp. 3d 466, 496 (D. Del. 2019) (excluding testimony that failed to

analyze litigation stage of settlement agreement or other economic circumstances); M2M Sols.

LLC v. Enfora, Inc., 167 F. Supp. 3d 665, 677-78 (D. Del. 2016) (excluding testimony that

“virtually ignores the fact that . . . licenses resulted from litigation settlements, providing a

drastically different backdrop than the hypothetical negotiation involving two willing licensors.”);

Sprint Commc’ns, 2015 WL 456154, at *2 (excluding opinions where expert “provide[d] no

information regarding the nature of the litigation or the context of the settlements”); Biedermann,

2021 WL 6034269, at *6, *9 (excluding opinions because “aside from noting that the licenses were

. . . entered into as part of settlements . . . [the report] nowhere discusses the underlying litigation”).

            3. Grama’s Opinions on Technical Comparability Should Be Excluded.

        Licenses also must be technically comparable to the hypothetical negotiation. Lucent

Techs., 580 F.3d at 1329. Experts must compare the respective technologies and explain, with

specificity, how the technologies relate to one another. Adasa Inc. v. Avery Dennison Corp., 55

F.4th 900, 915 (Fed. Cir. 2022) (attribution omitted). “[C]onclusory observations are insufficient.”

Id. Thus, the fact that two technologies relate to the same general field (e.g., load balancing,

distributed systems, RFID technology) is not enough. Id. (“‘RFID technology’ is too broad and

vague a category . . . to serve as a meaningful comparison point”). Likewise, an expert cannot

establish comparability by asserting that the proffered license covers “foundational technolog[y].”


                                                        15
Id.   Instead, experts must expressly account for the differences between the technologies.

LaserDynamics, 694 F.3d at 79 (“[A]lleging a loose or vague comparability between different

technologies . . . does not suffice.”).

        The analysis by AWS’s technical expert, Grama, of AWS’s proffered licenses does not

comply with these standards. Instead of evaluating comparability, Grama considers whether the

patents are “directed generally to similar technology.” Ex. CC ¶¶ 486, 489, 500, 507, 510, 517.

Such generalized analysis is legally insufficient. See LaserDynamics, 694 F.3d at 79.

        Grama’s analysis follows the same template for each patent: (1) he sets forth the title of the

patent; (2) he identifies the general field to which the patent relates (e.g., “load balancing,”

“network systems,”); and (3) he concludes, in conclusory fashion, that the proffered patent is

“similar to the Asserted Patents.” Grama’s analysis of the “                                        ”

license is representative. The entirety of his comparability analysis with respect to the two patents

he considered is:

        These patents disclose techniques that improve mapping and searching on a
        distributed network. In my opinion, these patents teach foundational technology
        for distributed network systems, architectures, and management, which is
        comparable to the technology disclosed in the Asserted Patents.

Id. ¶ 502. This mode of reasoning is virtually identical for each of the patents in Grama’s report.

See id. ¶¶ 483-520. After providing his opinion on comparability, Grama asserts—in the same

conclusory fashion—that the comparator patents are “more foundational” than the Asserted

Patents. Id. at, e.g., ¶¶ 484, 486, 490, 492, 499, 504, 508, 509, 511 (“[T]he technology licensed in

this agreement is more foundational than the Asserted Patents.”). These opinions fail to meet the

Federal Circuit’s strict standards for admissibility, and therefore must be excluded.

            4. Bennis’s Opinions On Econnectix Transactions Should Be Excluded.



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       Bennis’s damages opinions rely on previous transactions by Kove (then called

“Econnectix”), which covered, among other things, the patent applications that would eventually

become the Asserted Patents. Ex. NN (Bennis Report) at 103-108. Again, Bennis failed to offer

an opinion on the economic comparability of these transactions and did not consider facts that

would bear on economic comparability. Id. At her deposition, Bennis admitted as much:

       Q: And so is it your opinion that this transaction out of a liquidation process is technically
       and economically comparable to a license that would result from the hypothetical
       negotiation?
       A: No, I don’t think I’ve said that anywhere.

Ex. OO (Bennis Tr.) at 262:21-263:8.

       Because Bennis did not offer opinions sufficient to meet the essential comparability

requirement, they should be excluded.

           5. Undisclosed Non-Infringing Alternatives Should Be Excluded.

       Non-infringing alternatives are a key part of Kove’s damages case. Kove’s damages

analysis hinges on showing the incremental benefit of Kove’s invention to AWS when compared

to potential non-infringing alternatives. See Prism Techs., 849 F.3d at 1376 (explaining the

importance of non-infringing alternatives in patent damages). Given the critical importance of

non-infringing alternatives, and the need for fact discovery on them, Kove served interrogatories

seeking the disclosure of what AWS considers to be non-infringing alternatives to the inventions.

Ex. RR (First Set of ROGs) at ROG 3. Kove sought this information so it could take fact discovery

on whether AWS’s alleged non-infringing alternatives were commercially and technically

viable—after all, Kove is entitled to probe whether something is really an alternative.

       AWS responded to these interrogatories, disclosing what it considered to be the non-

infringing alternatives. Ex. SS (AWS’s Supp. Response to First ROGs) at ROG 3. Kove relied



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on these responses for depositions about purported non-infringing alternatives, and Kove’s experts

addressed the alternatives AWS disclosed. See, e.g, Ex. TT (Corrected Expert Report of Mike

Goodrich) ¶¶ 296-345; Ex. PP (Bergman Report) ¶¶ 268-279, 575. 16

       Then, in its expert reports, AWS came forward with a new slate of non-infringing

alternatives that had not been identified in discovery. See, e.g., Ex. CC ¶¶ 419, 424, 458-465, 470-

471, 477, 535; Ex. NN at 29-30, 54, 87. Worse, they sharply criticized Kove’s experts as

“misguided” and “incorrect” for not considering the undisclosed alternatives. Ex. CC ¶ 458; Ex.

NN at 29, 54.

       According to Rule 37, “[i]f a party fails to provide information or identify a witness as

required by Rule 26(a) or (e), the party is not allowed to use that information or witness to supply

evidence on a motion, at a hearing, or at a trial, unless the failure was substantially justified or is

harmless.” FRCP, Rule 37(c)(1); see also Allen, 2001 U.S. Dist LEXIS 11354 *2. This failure to

disclose non-infringing alternatives before Kove’s opening expert reports was neither justified nor

harmless. Kove has been severely prejudiced because it could not take fact discovery on whether

these non-infringing alternatives were commercially and technically viable. AWS’s bait and

switch deprived Kove of critical testimony, and thus its new non-infringing alternatives should be

excluded.

       B.       Inadmissible Non-Infringement Opinions

            1. AWS’s Untimely Non-Infringement Arguments Should Be Excluded.

       The Court’s Local Patent Rules exist to prevent trial by ambush. The Court prevented one

such ambush when it excluded AWS’s parent-child/master-slave noninfringement argument with


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  AWS was under a continuing duty to supplement its interrogatory responses. See, e.g., FRCP
Rule 26(e)(2); Allen v. Bake-Line Prods., Inc, 2001 WL 883693, at *1-2 (N.D. Ill. Aug. 6, 2001).

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respect to the DDB accused product in its summary judgment order. Dkt. 739, at 29. Other

arguments not disclosed in AWS’s final noninfringement contentions and appearing for the first

time in Grama’s rebuttal report should also be struck. Pactiv Corp. v. Multisorb Techs., Inc., 2013

WL 2384249, at *3 (N.D. Ill. May 29, 2013) (“To allow an expert to go beyond [the final

contentions] would render them useless and ignore the specificity requirements of the Local Patent

Rule 2.3.”); Baxter Int’l, Inc. v. CareFusion Corp., 2020 WL 10486005, at *1-2 (N.D. Ill. Aug.

12, 2020) (“Expert reports are . . . bound by the propositions advanced in the Final Contentions.”).

       “Parent-child hierarchy” theory (S3 accused product). As the Court already found,

Grama’s rebuttal report unveiled the new theory that the DDB accused product does not infringe

because its                   allegedly have a                    structure. Dkt. 739, at 29. Grama

makes a nearly identical argument for the                      in the S3 accused product, opining that

the           that store location information in                    “are partitioned into

arrangements,” which “are also called              relationships[.]” Ex. CC (Grama Report) ¶¶ 357-

358.                                                       are not in AWS’s final noninfringement

contentions, and so the theory should be excluded. Ex. UU (AWS’s FNC); Ex. VV (Ex. A to

AWS’s FNC); Ex. YY (Ex. D to AWS’s FNC).

       “Naming convention hierarchy” theory (S3 and DDB). Grama opines that both accused

products are hierarchical because of “naming conventions” for stored data items. Ex. CC (Grama

Report) ¶¶ 194-197. In his view, if multiple data items stored in different regions can have the

same name, then the system must be hierarchical. Id. But “naming convention” does not appear

in AWS’s final noninfringement theories, nor is this theory otherwise disclosed. Ex. UU (AWS’s

FNC); Exs. VV-ZZ (AWS’s FNC Exhibits A-E). It should be excluded.

       “              is too full” theory (S3). Claim 17 of the ’978 patent requires “transferring


                                                      19
a portion of the identifiers and associated locations to a second data location server when a

performance criterion of the first location server reaches a predetermined performance limit.” Ex.

AAA (’978 patent) claim 17 (emphasis added). Grama opines that this limitation cannot be met

by the               in S3 because                                  ; and because “a cache is nearly

always at its storage capacity limit . . .[,] [r]ather than ‘transferring’ anything, the

                                                                                             .” Ex. CC

(Grama Report) ¶¶ 309-310. This theory should be excluded because it was not disclosed in

AWS’s noninfringement contentions. See Ex. UU (AWS’s FNC); Ex. YY (AWS’s FNC Ex. D)

at 95-107.

         “             ” is not an “identifier” theory (DDB). A                      in DDB consists

of either                                                                                    .

                                                                            Goodrich’s infringement

analysis explains that a               meets the requirements of the claim term “identifier,” in part

because it uniquely identifies a data entity.

         In rebutting Goodrich’s mapping of                    to “identifier,” Grama opines that

                                                                                                 Rather, a

                           as used in DDB tables identifies                                and how the

data is ordered within the                      , not the individual entity.” Ex. CC (Grama Report)

¶ 227. AWS did not disclose this theory in its noninfringement contentions. In fact, AWS’s

contentions contradict Grama’s opinion (and align with Goodrich) on this point, stating that a

                                                                                           E.g., Ex. UU

(AWS’s FNC); Ex. ZZ (AWS’s FNC Ex. E) at 18. AWS should not be permitted to present

Grama’s new                    noninfringement theory, especially when it took the opposite position


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in discovery.

            2. The Federal Circuit Bars Grama’s “Practicing The Prior Art” Defense.

        To determine infringement, the jury must compare the language of the claim to the accused

device. Baxter Healthcare Corp. v. Spectramed, Inc., 49 F.3d 1575, 1582 (Fed. Cir. 1995).

Federal Circuit case law is “unequivocally clear . . . that there is no ‘practicing the prior art’ defense

to literal infringement.” Tate Access Floors, Inc. v. Interface Architectural Res., Inc., 279 F.3d

1357, 1365 (Fed. Cir. 2002). This defense occurs when a defendant claims they are practicing

prior art, therefore they must not infringe. “The problem with such a defense is that it can

potentially allow a defendant to skirt evidentiary hurdles and conflate the infringement and

invalidity inquiries. In essence, an accused infringer forsakes any comparison between the asserted

claims and the accused product, relying instead upon purported similarities between the accused

product and the prior art.” 01 Communique Lab., Inc. v. Citrix Sys., Inc., 889 F.3d 735, 742 (Fed.

Cir. 2018); Baxalta Inc. v. Bayer Healthcare LLC, 513 F. Supp. 3d 426, 448 (D. Del. 2021)

(excluding “practicing the prior art” expert opinions under Daubert).

        Grama opines that the Accused Products cannot infringe because the products practice the

prior art. With respect to S3, Grama alleges that the           are “an implementation of concepts in

a paper entitled ‘. . .’” Ex. CC (Grama Report) ¶ 283. Grama further points to the testimony of

Kove’s CEO, Dr. John Overton, that the prior art was different than the ’640 patent. Id. ¶ 284.

Boiled down, Grama’s opinion is that S3 does not infringe because it practices what was disclosed

in a prior art paper, but because Kove’s CEO believes the paper is different than the Kove patents,

S3 must not infringe. This is precisely the forbidden practicing the prior art defense, and therefore

must be excluded.

        Similarly, Grama claims that aspects of DDB are the same as in the                      prior art


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reference, and because       does not invalidate Kove’s patent claims, DDB must not infringe. Ex.

BBB (Grama Supp. Rpt.) ¶¶ 9-12. Because these theories rely on the forbidden practicing the prior

art defense, they also must be excluded. Blackhawk Molding Co. v. Portola Packaging, Inc., 422

F. Supp. 2d 948, 955 (N.D. Ill. 2006) (rejecting practicing the prior art defense).

           3. Grama’s Immaterial “Hierarchy” Opinions Should Be Excluded.

       Grama opines that the accused products do not infringe because (1) components within the

products have “logical hierarchies” and (2) the products themselves are organized into “geographic

hierarchies.” These opinions should be excluded under Daubert because, under the Court’s

constructions, these hierarchies are irrelevant to infringement.

       In its summary judgment order, the Court determined that the claimed location servers, as

opposed to other aspects of a data storage system, “must be arranged in ‘non-hierarchical

structures.’” Dkt. 739, at 15; see also id. at 16-23. Applying this claim construction, the Court

analyzed several of AWS’s noninfringement arguments and found them to be “immaterial” to

infringement. Id. at 25-28. The Court addressed AWS’s argument that “S3 and DDB contain

‘many different components that are themselves organized into additional logical hierarchies’” and

found that it was irrelevant to infringement because “[i]t is clear that the non-hierarchical

configuration recited in the claims is directed to the configuration of the location servers[.]” Id. at

25-26 (quoting Def.’s Reply at 18). The Court also addressed AWS’s argument that “‘S3 and

DDB both divide their data storage systems into geographical hierarchies, including at least one

layer of 17 regions, plus another layer dividing those regions into availability zones.’” Id. at 26

(quoting Def.’s Reply at 18). The Court similarly found this noninfringement argument to be

irrelevant, reasoning that “as long as the location servers within an availability zone or region are

arranged in a non-hierarchical configuration, the accused products may infringe upon Kove’s


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patents even if those zones and/or regions are arranged hierarchically in relation to other

components of S3 or DDB.” Id. at 28.

       Grama’s noninfringement opinions that are based on identifying hierarchies that the Court

already found to be irrelevant should be excluded. First, Grama opines that there are hierarchies

in components of DDB and S3 that are unrelated to the structure of the alleged location servers.

Ex. CC (Grama Report) ¶¶ 334-335, 338-339, 355-364, 194-197. Second, Grama analyzes the

geographic hierarchy of DDB and S3. Id., ¶¶ 331-333, 352-354. These portions of Grama’s

analysis should be excluded under Daubert because they are irrelevant to Kove’s infringement

theories under the applicable claim constructions. See Promega Corp. v. Applied Biosystems, LLC,

2013 WL 9988881, at *3 (N.D. Ill. May 28, 2013) (excluding expert testimony that was irrelevant

to infringement in view of the court’s explanation of the claim requirements). Permitting irrelevant

theories will only serve to confuse and mislead the jury. Daubert v. Merrell Dow Pharms., Inc.,

509 U.S. 579, 591 (1993) (“Expert testimony which does not relate to any issue in the case is not

relevant and, ergo, non-helpful.”) (citations omitted).

           4. Grama Should Not Be Permitted To Provide New Claim Constructions.

       Multiple sections of Grama’s report set forth claim construction opinions that differ from

the Court’s claim construction order(s). It is well established that experts may not argue claim

construction to the jury. CytoLogix Corp. v. Ventana Med. Sys., Inc., 424 F.3d 1168, 1172-73

(Fed. Cir. 2005) (“[T]he parties also presented expert witnesses who testified before the jury

regarding claim construction, and counsel argued conflicting claim constructions to the jury. This

was improper, and the district court should have refused to allow such testimony[.]”). This is

because disputes over the scope of claims are questions of law, and so must be resolved by the

Court. O2 Micro Int’l Ltd. v. Beyond Innovation Tech. Co., 521 F.3d 1351, 1361 (Fed. Cir. 2008).


                                                     23
       Grama provides his personal perspective on the back and forth between Kove and the

Patent Office during reexaminations, and the scope of the disclaimer that he believes resulted from

those communications. Ex. CC (Grama Report) ¶¶ 136, 145-146, 211-219, 326. Those portions

should be excluded so as to prevent him from arguing claim construction to the jury. Cordis Corp.

v. Bos. Sci. Corp., 561 F.3d 1319, 1337 (Fed. Cir. 2009) (holding that the district court properly

prevented an expert from using the prosecution history to argue claim scope to the jury).

       To make matters worse, Grama’s analysis of the alleged disclaimers differs from the

Court’s constructions. Grama’s report argues for the full scope of disclaimer that AWS asked the

Court to adopt during summary judgment briefing, but the Court only adopted aspects of AWS’s

proposal.   E.g., Ex. CC (Grama Report) ¶ 212.           Expert testimony about incorrect claim

constructions is not relevant, extraordinarily prejudicial under Rule 403, and should be excluded.

See Liquid Dynamics Corp. v. Vaughan Co., 449 F.3d 1209, 1224 (Fed. Cir. 2006).

       C.      Inadmissible Invalidity Opinions

       The Court held on summary judgment that a patent’s specification cannot be used as prior

art in an obviousness-type double patenting (OTDP) analysis. Dkt. 739 at 42-43. With the

improper evidence excluded, certain of Greene’s opinions are left without any supporting

evidence, making them deficient and unreliable. Specifically, without the struck evidence, Green

does not have evidence to show double patenting of the following claims: claims 10, 17, 23, 24,

and 30 of the ’978 patent as obvious in view of the ’640 patent, and claim 10 as obvious in view

of the ’170 patent. The point is readily apparent in Green’s color coded OTDP charts.

       For example, for claim 10 of the ’978 patent, Greene used cites only specification evidence

highlighted in blue on the right) to meet the following claim limitation.




                                                    24
Ex. LL at 4-5 (color in original). Without it, his OTDP argument as to claim 10 fails. Similarly,

with respect to claim 17 of the ’978 patent, Greene also improperly relies on specification evidence

to support his opinion of OTDP invalidity in view of the ’640 patent. Id. at 9 (yellow highlighting).

This same deficiency also exists for elements [17.b] and [17.e] (Id. at 9-11)––once the specification

citations are removed, he has no evidentiary basis to support his invalidity opinion. Greene’s

opinions regarding dependent claims 23, 24, and 30, and claim 10 of the ’978 patent also are

deficient for the same reason. See id. at 11-12; Ex. MM at 5-6. Greene therefore cannot meet his

burden of proving by clear and convincing evidence that the claims of these claims are invalid

under the OTDP doctrine.




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Dated: February 16, 2024                 Respectfully submitted,

                                         /s/ Courtland L. Reichman

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                                CERTIFICATE OF SERVICE

       I hereby certify that on the 16th day of February, 2024, I electronically filed the foregoing

document with the clerk of the court for the U.S. District Court, Northern District of Illinois,

Eastern Division, using the electronic case filing system of the court. The electronic case filing

system sent a “Notice of Electronic Filing” to the attorneys of record who have consented in

writing to accept this Notice as service of this document by electronic means.

                                                      /s/ Courtland L. Reichman
                                                      Courtland L. Reichman




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